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                Exhibit A
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                                                                                                      August 15, 2022
John Prentis
Managing Principal
EDGEWOOD PARTNERS INSURANCE CENTER
1 CALIFORNIA ST STE 400
SAN FRANCISCO, CA 94111-5402

Re:     Paper Bird Inc.
        Excess Products
        Policy Number 652453460
        Expiration Date: 08/04/2023

Dear Mr Prentis,

We are pleased to enclose Policy Number 652453460 for Paper Bird Inc.. We trust that this policy meets with the
specifications outlined in our quotation (number 6293090502). Please review it carefully to confirm this. Should you
detect any problem, please contact me as soon as possible.

If commissions or other compensation are payable hereunder, Insurance Producer will comply with all applicable federal
and state laws, rules, regulations and/or orders governing disclosure by an agent, broker or producer to an insured or
prospective insured of commissions or other compensation.

We appreciate the opportunity to do business with Paper Bird Inc. and with you. If you should have any comments,
questions, or concerns, please do not hesitate to contact me.

Sincerely,


Ashley Ruben

Ashley Ruben
Underwriter
(312) 822-6790
ashley.ruben@cna.com
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                                                                                                               DECLARATIONS
                                                                                                     EXCESS INSURANCE POLICY


     ACCOUNT NUMBER                   896755
COVERAGE PROVIDED BY                  Continental Casualty Company
   (hereafter Insurer)
   POLICY NUMBER                      652453460
                                                                                                    PRODUCER
Item 1: NAMED ENTITY AND PRINCIPAL ADDRESS
Paper Bird Inc.                                                                EDGEWOOD PARTNERS INSURANCE CENTER
101 Second Street                                                              1 CALIFORNIA ST STE 400
Ste 200                                                                        SAN FRANCISCO, CA 94111-5402
San Francisco, CA 94105

                                                                               John Prentis
Attn:

                                                                               Item 3. Limit of Liability
Item 2.    Policy           8/4/2022 To 8/4/2023
           Period:                                                             $5,000,000 maximum aggregate Limit of Liability
                            12:01 a.m. Standard Time at the Principal          under the Policy
                            Address stated in Item 1.

Item 4.    Schedule of Underlying Insurance:
           A. Followed Policy
           Name of Carrier                          Policy No                       Limits                Ded/Ret Amount
           Beazley Syndicates 2623/623 at           B0146ERINT2200905           $5,000,000                $0
           Lloyd's
           B. Underlying Excess Policies:              *** SEE ATTACHED SCHEDULE ***

Item 5.    Policy Premium            $288,800

Item 6.    Notices of Claims:                                                                All other Notices:
           CNA – Claims Reporting
           P.O. Box 8317                                                                     Open Brokerage Global Specialty Lines
           Chicago, IL 60680-8317                                                            CNA Insurance Company
           Email address: SpecialtyProNewLoss@cna.com                                        125 Broad Street – 8th Floor
           Fax Number: 866-773-7504                                                          New York, NY 10004

Item 7.    Endorsements forming a part of this Policy at inception:
            GSL-14500-XXC     2010-12-01           Prior or Pending Exclusion Endorsement (Follow the Followed Policy,
                                                   Except for a Date)
            CNA-81753-XX      2015-03-01           Cap On Losses From Certified Acts Of Terrorism Endorsement
            CNA-81758-XX      2021-01-01           Notice Offer Of Terrorism Coverage Disclosure Of Premium Confirmation
                                                   Of Acceptance
            CNA-75740-XX      2013-08-01           Amend Preamble Endorsement
            CNA-82040-XX      2015-04-01           Amend Insuring Agreement By Removing Covered Endorsement
            CNA-90206-XX      2017-09-01           Amend Maintenance of the Terms and Conditions of Underlying
                                                   Insurance (InsurerÆs Consent)
            GSL-23445-XX      2010-12-01           Amend Section IV Insurer Rights/Cooperation Clause
These Declarations, along with the completed and signed Application, the Policy, and any written endorsements attached
thereto shall constitute the contract between the Insureds and the Insurer.
Authorized Representative:                                                                           Date:        August 15, 2022




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                                       UNDERLYING EXCESS POLICY SCHEDULE

Name of Carrier                                    Policy No.                Limits       Excess of

QBE Insurance Corporation                          130003250                 $5,000,000   $5,000,000




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                                                                   EXCESS INSURANCE POLICY
Words defined in the Followed Policy have the same meaning in this Policy even if not defined
herein. In consideration of the payment of the premium and in reliance upon the applications
submitted to the Insurer or any insurer of the Underlying Insurance, and any other material
submitted in connection with such applications (all of which are deemed attached hereto and
made a part hereof) the Insurer and the Insureds agree as follows:
I.   FOLLOW FORM EXCESS COVERAGE
     The Insurer shall provide coverage in accordance with all of the terms, conditions and limitations
     (including, but not limited to the exclusions and notice requirements) of the policy scheduled in Item
     4.A. of the Declarations (hereafter “Followed Policy”) except as otherwise set forth herein.
     Coverage hereunder shall attach only after all of the aggregate Limits of Liability, as set forth in Item
     4. of the Declarations have been exhausted through payment of covered loss under all policies
     scheduled in Item 4. of the Declarations (hereafter “Underlying Insurance”) by or on behalf of the
     insurers of such Underlying Insurance, or by or on behalf of the Insureds. The risk of uncollectibility
     of any Underlying Insurance (in whole or in part), whether because of financial impairment or
     insolvency of an underlying insurer or for any other reason, is expressly retained by the Insureds and
     is not insured by or assumed by the Insurer.
II. LIMIT OF LIABILITY
     The amount set forth in Item 3. of the Declarations shall be the maximum aggregate Limit of Liability
     of the Insurer for all loss under this Policy, regardless of the number of claims made against the
     Insureds or the time of payment and regardless of whether or not an extended reporting period
     applies. If the Limit of Liability under this Policy is exhausted by payment of loss, the Insurer's
     obligations under this Policy shall be deemed completely fulfilled and extinguished.
III. CHANGES TO UNDERLYING INSURANCE/DEPLETION OF SUB-LIMITS
     If, subsequent to the inception date of this Policy, there is a change to any Underlying Insurance
     which expands coverage, then this Policy shall become subject to such change only if the Insurer
     agrees thereto by written endorsement to this Policy. If any loss under any Underlying Insurance is
     subject to a sub-limit, then this Policy provides no coverage excess of such Underlying Insurance
     sub-limit, but the Underlying Insurance shall be deemed depleted by payment of any such sub-limit.
IV. INSURER RIGHTS/COOPERATION CLAUSE
     The Insurer has the same rights and protections as has the insurer of the Followed Policy and has
     the right, but not the obligation, at its sole discretion, to elect to participate in the investigation,
     settlement, prosecution or defense of any claim reasonably likely to attach to and be covered under
     this Policy or any Underlying Insurance, even if the Underlying Insurance has not been exhausted.
     The Insureds shall cooperate with the Insurer in such investigation, settlement, prosecution or
     defense and shall do nothing that prejudices the Insurer’s position or rights of recovery.
V. NOTICES
     Where notice is permitted or required by the Followed Policy, the Insureds have the same rights and
     obligations to notify the Insurer under this Policy, except that such notice shall be given to the Insurer
     at the applicable address specified in Item 6. of the Declarations.
IN WITNESS WHEREOF, the Insurer has caused this Policy to be executed by its Chairman and
Secretary, but this Policy shall not be binding upon us unless completed by the attachment of the
Declarations:
Chairman                                                          Secretary




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                                  PRIOR OR PENDING EXCLUSION ENDORSEMENT
                                   (Follow the Followed Policy, Except for a Date)

In consideration of the premium charged, it is understood and agreed the following new exclusion is added to the Policy:

        PRIOR OR PENDING EXCLUSION

        Notwithstanding any provisions of the Underlying Insurance, the Insurer shall not be liable to make payment for
        loss in connection with any claim made against the Insureds as set forth in the declarations of the Followed
        Policy, except that the following date shall replace the prior or pending date of such Exclusion:

        8/4/2022


All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




GSL14500XXC (12-10)                                                                     Policy No:    652453460
Page 1                                                                            Endorsement No:     1
Continental Casualty Company                                                        Effective Date:   08/04/2022
Insured Name: Paper Bird Inc.
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                              CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                              ENDORSEMENT

It is understood and agreed as follows:

Whenever used in this endorsement, 1) “we” means the insurer listed on Declarations or the Certificate of Insurance, as
applicable; and 2) “you” means the first person or entity named on the Declarations or the Certificate of Insurance, as
applicable.

A.      Cap on Certified Terrorism Losses

        “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in consultation with the
        Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant
        to the Terrorism Risk Insurance Act, as extended and reauthorized (the “Act”). The criteria contained in the Act for
        a “certified act of terrorism” include the following:

        1.      The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of
                insurance subject to the Terrorism Risk Insurance Act; and

        2.      The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
                committed by an individual or individuals as part of an effort to coerce the civilian population of the United
                States or to influence the policy or affect the conduct of the United States Government by coercion.

        If aggregate insured losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar
        year (January 1 through December 31) and we have met our insurer deductible under the Act, we shall not be
        liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case
        insured losses up to that amount are subject to pro rata allocation in accordance with procedures established by
        the Secretary of the Treasury.

B.      Application of Exclusions

        The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism exclusion, do
        not serve to create coverage for any loss which would otherwise be excluded under this Policy, such as losses
        excluded by the Nuclear Hazard Exclusion or the War And Military Action Exclusion.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




CNA81753XX (3-15)                                                                          Policy No:              652453460
Page 1                                                                                     Endorsement No:         2
Continental Casualty Company                                                               Effective Date:         08/04/2022
Insured Name: Paper Bird Inc.
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                                                                       Policy Holder Notice – Country Wide


                       IMPORTANT INFORMATION
                        NOTICE - OFFER OF TERRORISM COVERAGE;
                                       DISCLOSURE OF PREMIUM
THIS NOTICE DOES NOT FORM A PART OF THE POLICY, GRANT ANY COVERAGE OR CHANGE THE
TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

 As used herein, 1) “we” means the insurer listed on the Declarations or the Certificate of Insurance, as applicable;
and 2) “you” means the first person or entity named on the Declarations or the Certificate of Insurance, as applicable.
You are hereby notified that under the Terrorism Risk Insurance Act, as extended and reauthorized ("Act"), you have
a right to purchase insurance coverage of losses arising out of acts of terrorism, as defined in Section 102(1) of the
Act, subject to all applicable policy provisions. The Terrorism Risk Insurance Act established a federal program within
the Department of the Treasury, under which the federal government shares, with the insurance industry, the risk of
loss from future terrorist attacks.

This Notice is designed to alert you to coverage restrictions and to certain terrorism provisions in the policy. If there is
any conflict between this Notice and the policy (including its endorsements), the provisions of the policy (including its
endorsements) apply.

CHANGE IN THE DEFINITION OF A CERTIFIED ACT OF TERRORISM

The Act applies when the Secretary of the Treasury certifies that an event meets the definition of an act of terrorism.
Originally, the Act provided that to be certified, an act of terrorism must cause losses of at least five million dollars
and must have been committed by an individual or individuals acting on behalf of any foreign person or foreign
interest to coerce the government or population of the United States. However, the 2007 re-authorization of the Act
removed the requirement that the act of terrorism must be committed by or on behalf of a foreign interest, and now
certified acts of terrorism may encompass, for example, a terrorist act committed against the United States
government by a United States citizen, when the act is determined by the federal government to be "a certified act of
terrorism."

In accordance with the Act, we are required to offer you the ability to purchase coverage for losses resulting from an
act of terrorism that is certified under the federal program. The other provisions of this policy, including nuclear, war
or military action exclusions, will still apply to such an act.

DISCLOSURE OF FEDERAL PARTICIPATION IN PAYMENT OF TERRORISM LOSSES

The Department of the Treasury will pay a share of terrorism losses insured under the federal program. Beginning in
2020, the federal share equals 80% of that portion of the amount of such insured losses that exceeds the applicable
insurer retention.

LIMITATION ON PAYMENT OF TERRORISM LOSSES

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a calendar year (January 1 through December 31), the Treasury shall not make any payment for any portion
of the amount of such losses that exceeds $100 billion.

Further, this coverage is subject to a limit on our liability pursuant to the federal law where, if aggregate insured
losses attributable to terrorist acts certified under the Act exceed $100 billion in a calendar year (January 1 through
December 31) and we have met our insurer deductible under the Act, we shall not be liable for the payment of any
portion of the amount of such losses that exceeds $100 billion. In such case, insured losses up to that amount are
subject to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.

CONFIRMATION OF ACCEPTANCE OF COVERAGE

In accordance with the Act, we offered you coverage for losses resulting from an act of terrorism that is certified
under the federal program. This notice confirms that you have chosen to accept our offer of coverage for certified

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                                                                      Policy Holder Notice – Country Wide

acts of terrorism. The policy's other provisions, including nuclear, war or military action exclusions, will still apply to
such an act. The premium charge for terrorism coverage, if any, is shown separately on the Declarations or the
Certificate of Insurance, as applicable.




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                                           AMEND PREAMBLE ENDORSEMENT

It is understood and agreed that the preamble of the Policy is deleted in its entirety and is replaced with the following:

        Words defined in the Followed Policy have the same meaning in this Policy even if not defined herein. In
        consideration of the payment of the premium and in reliance upon the Application as defined by the
        Followed Policy (which is deemed attached hereto and made a part hereof) the Insurer and the Insureds
        agree as follows:




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




CNA75740XX (8-13)                                                                         Policy No:     652453460
Page 1                                                                              Endorsement No:      4
Continental Casualty Company                                                          Effective Date:    08/04/2022
Insured Name: Paper Bird Inc.
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                    AMEND INSURING AGREEMENT BY REMOVING COVERED ENDORSEMENT

In consideration of the premium paid, it is hereby understood and agreed that Section I. FOLLOW FORM EXCESS
COVERAGE is deleted in its entirety and replaced with the following:

    The Insurer shall provide coverage in accordance with all of the terms, conditions and limitations (including, but not
    limited to the exclusions and notice requirements) of the policy scheduled in Item 4.A. of the Declarations (hereafter
    “Followed Policy”) except as otherwise set forth herein. Coverage hereunder shall attach only after all of the
    aggregate Limits of Liability, as set forth in Item 4. of the Declarations have been exhausted through payment of loss
    under all policies scheduled in Item 4. of the Declarations (hereafter “Underlying Insurance”) by or on behalf of the
    insurers of such Underlying Insurance, or by or on behalf of the Insureds. The risk of uncollectibility of any
    Underlying Insurance (in whole or in part), whether because of financial impairment or insolvency of an underlying
    insurer or for any other reason, is expressly retained by the Insureds and is not insured by or assumed by the Insurer.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




CNA82040XX (4-15)                                                                         Policy No:     652453460
Page 1                                                                              Endorsement No:      5
Continental Casualty Company                                                          Effective Date:    08/04/2022
Insured Name: Paper Bird Inc.
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            AMEND MAINTENANCE OF THE TERMS AND CONDITIONS OF UNDERLYING INSURANCE
                                     (INSURER’S CONSENT)

In consideration of the premium charged, it is understood and agreed that Section III. CHANGES TO UNDERLYING
INSURANCE/DEPLETION OF SUB-LIMITS is amended by deleting the first sentence in its entirety and replacing it as
follows:

        If, subsequent to the inception date of this Policy, there is a change to any Underlying Insurance which expands
        coverage, then this Policy shall become subject to such change only if the Insurer agrees thereto by written
        endorsement to this Policy, such consent will not be unreasonably withheld.



All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




CNA90206XX (9-17)                                                                       Policy No:    652453460
Page 1                                                                            Endorsement No:     6
Continental Casualty Company                                                        Effective Date:   08/04/2022
Insured Name: Paper Bird Inc.
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                           AMEND SECTION IV. INSURER RIGHTS/COOPERATION CLAUSE

In consideration of the premium paid for this policy, it is agreed that Section IV. INSURER RIGHTS/ COOPERATION
CLAUSE is deleted and replaced with the following:

IV.     INSURER RIGHTS/COOPERATION CLAUSE

        The Insurer has the same rights and protections as has the insurer of the Followed Policy and has the right, but
        not the obligation, at its sole discretion, to elect to participate in the investigation, settlement, prosecution or
        defense of any claim reasonably likely to attach to and be covered under this Policy, even if the Underlying
        Insurance has not been exhausted. The Insureds shall cooperate with the Insurer in such investigation,
        settlement, prosecution or defense and shall do nothing that prejudices the Insurer’s position or rights of recovery.




All other terms and conditions of the Policy remain unchanged.

This endorsement, which forms a part of and is for attachment to the Policy issued by the designated Insurers, takes
effect on the effective date of said Policy at the hour stated in said Policy, unless another effective date is shown below,
and expires concurrently with said Policy.




GSL23445XX (12-10)                                                                        Policy No:    652453460
Page 1                                                                              Endorsement No:     7
Continental Casualty Company                                                          Effective Date:   08/04/2022
Insured Name: Paper Bird Inc.
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